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UNITED STATES DlSTR|CT COURT
EASTERN D|STR|CT OF LOU|SIANA

ABLE SECU R!TY AND PATROL, LLC, * C|VIL ACT|ON NO.

AND HENRY JOLLY

VS SECT|ON 7 1 9 3
STATE OF LOU|SIANA, LOU|SIANA * MAGISTRAQE 1

STATE BOARD OF PR|VATE SECUR|TY
EXAM|NERS, WAYNE R. ROG|LL|O, *
CORPORATE SECUR|TY SOLUTIONS, |NC.,
CHR|STOPHER WlLLIAM FRA|N, MARSH USE lNC.
lNSURANCE COMPANY, ABLE SECUR|TY

& lNVEST|GAT|ONS OF LOU|S|ANA, *

LLC, WALTER D. ROBERTS, EL DORADO
|NSURANCE AGENC‘(, INC., BLACKWATER
SECUR|TY CONSULTANTS, LLC, *

ER|K DEAN PR|NCE, COMMERC|AL lNSURANCE
GROUP, |NC., JANE R¥LAND

*

 

COMP FOR 0 TIONS F H RA K TE INFLUENCED AN

CORRUP! ORGANIZA!!Q§S ACT |B!§O|, 12 U.§,C. 1983 AMQ 135,
THE 14TH AMENDHENT TO THE U.S. (.`»ON€"»T|TUT|O|§|l
THE LOUlSlANA CONSTl l U ! §§ A!§Q LQU!§IAM §TATE LAW

Claimants complain of the defendants as follows:
J RI ICTION
1. This Court has jurisdiction over Petitioners’ vanous claims under the
following stato.ztes:

2. P|aintiff brings this action against Defendants for their violations of the

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Racketeer influenced and Corrupt Organizations Act, 18 U.S.C. §1961,
et seq and for other causes of action as set forth herein.
a. This Honorab|e Court has jurisdiction over this civil action pursuant
to 18 U.S.C. §§1962(a), (b), © and (d), 1964©, and 28 U.S.C. §§1331 and
1337. This is a civil action arising under 18 U.S.C. §§1961-1968, §901(a)
of Titie iX of the Organized Crime Contro| Act of 1970, as amended,
otherwise known as the Racketeer influenced and Corrupt Organizations
Act (“RiCO”), and in particular, under 18 U.S.C. §1964 and other causes of
action as set forth hereafter.

E|!L|M_Q_._LAJM
Venue of RiCO claim lies within this district:
a. Venue lies with this district pursuant to 18 U.S.C. §1965 and
28 U.S.C. §1391. Defendants at relevant times conducted substantial
business in this district. The violations occurred in this district.
Defendants transact or have transacted their affairs in this district, and their
conduct, upon which this action is founded, was directed at and intended to
injure Piaintiff(s) in this district
b. Defendants, either on their own or through their agents, at the time of
the commission of the acts alleged hereunder, were found in, and/or
transacted business in the State of Louisiana, and the cause of action

which is the object of this Complaint arises out of business transactions in

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the State of Louisiana, including specihc acts within this district

c. Defendants, either on their own or through their agents, conspired to

commit within the State of Louisiana the wrongful acts alleged in this

Complaint andlor committed or participated in the commission of those acts

within or without the State of Louisiana, purposefully directing their

wrongful acts toward the forum of Louisiana, causing in Louisiana, directly
or indirectiy, the vioiations of RiCO and the other causes of action set forth
herein and P|aintifts’ resultant injuries.

d. Defendants’ racketeean activities were conducted through a pattern

of acts and transactions which occurred and/or had their effect within the

State of Louisiana, in this district.

e. In connection with the acts and conduct described herein, the

Defendants directly or indirectly used the means of interstate commerce,

including the mails and telephones.

NON-RICO CAUSES OF ACTION

This Court has jurisdiction over the following Non-R|CO claims:

a. The 14‘h Amendrnent ofthe United States Constitution for violations
of petitioners’ rights of equal protection against arbitrary, capricious and
discriminatory state action and violations of due process based on race;

b. 42 U.S.C. 1983 for discrimination based on race and violations of equal

protection based on race and through the exercise of state authority

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and action and violations of due process based on race;

c. 42 U.S.C. 1985 for conspiracy to discriminate based on race and to
violate petitioners’ rights of equal protection based on race and through
the exercise of state authority and action and conspiracy to violate
petitioners' rights of due process;

d. Under State Law - Generai tort law and La. Civii Code 231 5, et seq -
intentional infliction of emotional distress;

e. Under the Louisiana State Constitution and Louisiana General Tort
Law for violations of equal protection and deniai of due process;

This Court has pendent jurisdiction of Ciaimants ciaims under the Louisiana

Civil Code Article 2315 and Generai Louisiana Tort Law for intentional

infliction of emotional distress and denial of due process, substantive and

procedurai.
NUE OF NON-RlCO C |MS
Ciaimants and defendants reside in this District and in the Middle District of
Louisiana, however, this action arose in this District.
PARTiES

Ciaimant ABLE SECUR|T¥ AND PATROL, LLC, is a licensed and insured

private security patroi company located in New Or|eans, Louisiana. Abie

Security and Patro|, LLC was established and registered with the Louisiana

Secretary of State as a Limited Liabiiity on May 21 ,2001. ABLE is home-

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based with an Occupational License in Or|eans Parish by virtue of review,
evaluation, and approval of the Superintendent of Police, New Orleans Po|ice
Departrnent, Lie. 11-235949.0. Before Katrina they had a branch ofnce
located at 3939 Veterans Bou|evard, Suite 215 in Metairie, LA 70002. ABLE
was, and is, licensed with the Louisiana State Board of Private Security
Examiners, Lic. # 0514.

C|aimant HENR¥ JOLL¥ is a person of the full age of majority, domiciled
within the jurisdictional territory of this Court and, at all pertinent times, owner,
operator and CEO of ABLE SECUR|T¥ AND PATROL, LLC.

Defendant STATE OF LOU|S|ANA, through the LOU lS|ANA STATE BOARD
OF PRiVATE SECUR|T¥ EXAM|NERS, is a governmental entity capable of
suing and being sued.

Defendant LOUiSIANA STATE BOARD OF PRIVATE SECUR|T¥
EXAM|NERS (hereinafter, BOARD), is an entity and governmental arm of the
State of Louisiana which is capabie of suing and being sued.

Defendant JANE RYLAND is a person fo the full age of majority domiciled in
the middle district of this state who, at all pertinent times, was the coordinator
of the BOARD.

Defendant WAYNE R. ROGILL|O is a person to the full age of majority
domiciled in the middle district of this state who, at all pertinent times, was the
EXECUTIVE SECRETAR‘( of the BOARD.

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Defendant JOHN DOE a person fo the full age of majority domiciled in the
middle district of this state who, at atl pertinent times, was a member of the
BOARD,_

Defendant JANE DOE is a person of the fuii age of majority domiciled in the
middle district of this state who, at all pertinent times, was a member of the
BOARD.

Defendants JAMES AND JOAN DOE are persons of the full age of majority
domiciled outside of this state who, at all pertinent times, were managers,
directors, employees, agents of one or more of the defendant security
companies

CORPORATE SECURIT¥ SOLUTiONS, lNC., hereinafter CSS|, is a
Michigan corporation doing business within the jurisdictional territory of this
Court;

CHR|STOPHER W|LL|AM FRA|N, is a person of the full age of majority and
owner of defendant Corporate Security Solutions, |nc., and domiciied in Grand
Rapids, Michigan.

MARSH USE iNC. INSURANCE COMPANY, is a Michigan corporation doing
business within the jurisdictional territory of this Court who, at ai| pertinent
times, had in force and effect a policy of insurance covering the liability of
CSSi and Christopher Wiiliam Frain.

ABLE SECUR|TY & iNVEST|GATIONS OF LOU|SIANA, LLC, hereinafter

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“Bogus Ab|e”, is a domestic corporation doing business within the
jurisdictional territory of this Court;

20. WALTER D. ROBERTS is a person of the tuli age of majority and owner of
defendant “Bogus Ab|e”, and domiciled in Baton Rouge, Louisiana.

21. EL DORADO lNSURANCE AGENC¥, INC., is a Texas corporation doing
business within the jurisdictional territory of this Court who, at ali pertinent
times,'had in force and effect a policy of insurance covean the liability of
defendants “Bogus Able” and Walter D. Roberts.

22. BLACKWATER SECUR|TY CONSULTANTS, LLC, hereinafter “BSC”, is a
North Carolina corporation doing business within the jurisdictionai territory of
this Court.

23. ERiK DEAN PRINCE is a person of the full age of majority and owner of
defendant BSC and domiciled in Mayook, North Carotina.

24. COMMERCIAL INSURANCE GROUP, |NC., is a Kansas corporation doing
business within the jurisdictional territory of this Court who, at all pertinent
times, had in force and effect a policy of insurance covering the liability of
defendants BSC and Erik Dean Pn'nce.

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Histor_'y an_d_ guatitigations of C@imants

25. Approximately ten (‘i 0) years ago claimant |~lenry Joily retired from the Federal
Civi| Service in Aprii 1997.

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Ciaimant estabiished Able Security and Patroi. LLC in 2001, which was
established and registered with the Louisiana Secretary of State as a Limited
Liabi|ity on May 21, 2001.

ABLE SECUR|TY has, and at all pertinent times had, an Occupationa|
License in Orieans Parish by virtue of review, evaiuation, and approval of the
Superintendent of Po|ice, New Orieans Po|ice Department, Lic. # 060294.
ABLE SECUR|T¥ also has, and at ail pertinent times had, an Occupational
License in Jefferson Parish, Lic. # 11-235949.0.

Prior to Katrina in August 2005, ABLE SECUR|TY had a branch office at 3939
Veterans Boulevard, Suite 215 in Metain'e, LA 70002.

ABLE SECURIT¥ is, and at all pertinent times was, iicensed with the
Louisiana State Board of Private Security Examiners, Lic. # 0514.

ABLE's upper management staff has, and at all pertinent times had, over 109
years of collective experience in personnel management hotel and hospital
security, law enforcement and military operations

ABLE’s Chief Executive Ofiicer, Henry Jo||y, is a retired U. S. Treasury Agent
who, at the time of retirement was a Senior Specia| Agent, GS 181 1 with over
twenty-one (21) years of experience which inciuded Supervisory Criminai
investigator; Organized Crime Drug Enforcement Task Force Coordinator;
instructor at the Federai Law Enforcement Training Center, G|ynco, GA;

instructor at the internal Revenue Service Regionai Training Center, Atianta

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GA; instructor at the internal Revenue Service District Training Center, New
Orieans, LA; Coordinator of Covert Operations; and long term Undercover
Agent. Joiiy was honorably discharged from the U.S. Arrny after four (4)
years of dedicated and distinguished service Joiiy’s military service included
security experiences in Middie East and Far East countries as an attache'
loperative with the Nationai Security Agency (NSA).

Ciaimants Henry Joiiy and ABLE SECUR|TY have been licensed with the
Louisiana State Board of Private investigator Examiners for the past seven (7)
years.

At all pertinent times, the Louisiana State Board of Private Security Examiners
certified, and currently certiiies, Joiiy as a C|assroom instructor.

The Nationai Association of Certiiied Fraud Examiners certifies, and at ali
pertinent times has cerufied, Joiiy as a Certiiied Fraud Examiner.
Additionaliy, Joiiy served as Executive Ofiicer in the U.S. Navai Sea Cadet
Corp, Cottingham Division, located at the Navai Support Activity in A|giers, LA.
ABLE’s Chief Training Ofiicer is, and at aii pertinent times was, retired U. S.
Treasury Agent and CEO and Ciaimant Henry Joiiy.

ABLE’s staff inciudes in-house instructors certified by the Louisiana State
Board of Private Security Examiners

ABLE’s instructors are retired Federa| Law Enforcement Agents who were

former instructors at the Federal Law Enforcement Training Center in Giynco,

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GA.

39. ABLE was, and is, at ali pertinent times, certified as a participant in the U. S.
Smaii Business Administration (SBA) B(a) DB Program, the U. S. Smaii
Business Administration (SBA) Hubzone Program, the Louisiana Department
of Economic Deveiopment Smaii and Emerging Business Deveiopment
Program (SEBD), the Loyoia University Smaii Business Deveiopment
Prog ram, and the Regionai Transit Authority Smaii Disadvantaged Business
Program.

40. At all pertinent times ABLE had signiticant experience with such NON-
EXCLUSiVE accounts as: U. S. Department of Housing and Urban
Deveiopment Housing Authority of New Orieans, Regional Transit Authority,
New Orieans African American Museum. Tuiane Towers, Southem University
at New Orieans, Fox Sports Network, Adidas Sports, Gas Light Square
Apartments, Metropoiitan Hospice, F. M. C. New Orieans East (Medicai
Corporation), Factory 2-U Stores, The Methodist Horne For Chiidren, Hiiton
Riverside, Hotei inter~Continenta|, Cii Carbon, Nationai Gypsum, Empire
Stevedoring, Krewe of Endymion, Krewe of Bacchus, Krewe of Muse' , Krewe
of Al|a, Krewe of Centurions, and Krewe of Aphrodite.

Events during and After Katrina, and defendant’s denial of equal protection

and due process

41 . Oniy months prior to hurricane Katrina, ABLE had reasonable expectations of

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surpassing $1,000,000.00 in Gross Receipts.

ABLE’s office was located in a Medio¢i Faci|ity that provided care for severe

rehabilitation and terminaliy iii patients The patients could not be moved and

ABLE felt obligated to remain behind to provide safety and security. As such,

ABLE and it’s staff were the true New Orieans first responders.

At the time of their rescue from the depths of Katrina by Ascension Parish

Sheriffs Ofiice, ABLE’s Security Staff was responsible for saving the lives of

over 175 survivors ABLE’s Security Staff saw that all survivors reached high

ground and immediately attempted to secure fresh gear and weapons to

resume disaster relief efforts

On Friday, September 2, the ABLE staff and patients were transported via

medicai helicopter to a Baton Rouge hospita|.

On Saturday, September 3, Ciaimants purchased vehicies, weapons, and

support gear. Ciaimants arrived in New Orieans on September 5, surveyed

and assessed the area. After seeing masses of "Biack Security Tee shirts",
ABLE knew that recovery was on the way and that their and other’s

businesses wouid bounce back and fiourish.

At the time of their rescue from the depths of Katrina by the Ascension Parish

Sheriff’s Ofiice, Ciaimants were responsibie for saving over 175 survivors

ABLE's security staff saw that an survivors reached high ground, and

immediately attempted to secure fresh gear and weapons to resume disaster

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relief efforts.

Ciaimants arrived in LSBPSE’s office on Monday, September 5, 2005, met
with coordinator and discussed ABLE’s personal and company status.
ABLE advised defendants at that time that Abie Security was up and running.
Ciaimants arrived in New Orieans on September 5, 2005 surveyed and
assessed the area. After seeing masses of B|aci< Security Tee shirts",
claimants knew that recovery was underway and that theirs and other’s
businesses would fiourish.

Notwithstanding ABLE’s reasonabie expectations to resume based on
conditions, ABLE’s operations were shattered by the defendants’ wrongful
denial _of their right to operate, by defendantsl allowing out of state and
unlicensed security firms to operate, by aiiowing and being complicit in one of
these out-of-state firms to vioiate ciaimants’ rights under state trade and
business law, by defendants favoring the bogus “Abie” and other out of state
and unlicensed operators to illegally operate based on race andlor ties to
board members and it’s officers, and by denying ciaimants’ right to operate
based on race.

The Louisiana State Board of Private Security Examiners and Wayne R.
Rogiiiio, through his position as Executive Secretary, allowed unlicensed out-
of-state security companies to operate within Louisiana in vioiation of

Louisiana R.S. 37 and Titie 46, to the detriment of ciaimants.

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Further, defendants State of Louisiana and Executive Secretary of the Board
Wayne R. Rogiiiio were complicit in the infringement of ciaimants’ trade name
and ali rights connected thereto.

The Louisiana State Board of Private Security Examiners and Wayne R.
Rogi|iio also allowed an unlicensed out-of-state security company, calling itself

ABLE SECURlTY to operate within Louisiana in violation of Louisiana R.S.

 

37 and Titie 46, all to ciaimants’ damage

Many of ciaimants’ clients, their relocated security officers and competitors
told ABLE about the Bogus Abie’s practices and extensive contracts in
Louisiana.

Furthermore, the “bogus Ab|e” has deceived ciaimants’ clients and additional
clients and ciaimants’ competitors to think that they are either ciaimants’
company or are, at minimum, affiliated with claimants

Ciaimants have complained to the State of Louisiana and, specificaiiy, to
Wayne R. Rogi|iio in his capacity as Executive Secretary of and through the
Louisiana State Board of Private Security Examiners to no avaii.
Converseiy, Ciaimants have been practically forced out of business as a result
of the Louisiana State Board of Private Security Examiners' and Wayne R.
Rogillio’s intentional and negligent acts and omissions which violated
claimants’ rights under the U. S. and Louisiana Constitutions, federal and

state statutes, in the form of correspondence and illegal orders to cease and

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desist operations, illegal and unwarranted threats of legal action to force
claimants to cease and desist operations, illegally causing claimants to cease
and desist operations, requiring documentation of insurance and other items
necessary to operate of claimants when said items were previously provided
and while other companies were not required to produce such documents and
allowed to operate, and other acts in violation of the causes of action alleged
in this complaint

Ciaimants requested photocopies of all public records pertaining to the
application for licensing of the bogus Abie Security and Investigations; and of
Black Water Security, inciuding but not limited to the entire application
package, all Occupational Licenses (within State of Louisiana), lnsurance
lnformation, and listing of all known clients (within the State of Louisiana).
Defendants and, particularly, Executive Secretary Wayne R. Rogiilio refused
to provide these materials

Ciaimants sought, through the LSBPSE and Wayne R. Rogi||io in his capacity
as Executive Secretary of the Board, to cause this out-of-state security
company, calling itself ABLE SECUR|TY, operating within Louisiana in
violation of Louisiana R.S. 37 and Title 46 to cease operations in Louisiana as
well as pay restitution. instead of doing their duties under the law,
defendants used state law and their positions to favor illegal and unlicensed

white security companies and to deny claimants the light to operate based on

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race in violation of the U. S. Constitution and federal civil rights statutes and
in violation of Louisiana Trade Name and business practice statutes
Ciaimants requested that the defendant board contact them through “the
above address or via cellular telephone numbers (504) 628-1677 or (504)
628-5403".

Defendants’ actions separately and in concert, damaged claimants’
reputation among it’s clients and others deprived claimants of jobs and fees
for services rightfully theirs, injured claimants in their future business caused
claimants to incur expenses fees, costs and suffer emotional harm.

The actions of defendants were intentiona|, outrageous have no place in a
civilized society, and caused claimants severe emotional distress
Defendants knowingly and intentionally, through the Louisiana State Board of
Private Security Examiners and it’s Executive Secretary Wayne R. Rogillio,
allowed an unlicensed out~of-state security company, calling itself ABLE
SECUR|TY, to operate within Louisiana in violation of Louisiana RS. 37 and
Titie 46, as weli as other illegally operating security companies.

Many ofABLE's clients, relocated security officers and competitors have told
ABLE about the bogus ‘Able", it’s practices and extensive contracts in
Louisiana Furthermore, this company has deceived clients and competitors
to think that they are either ABLE (claimant) or are, at minimum, afliliated with

claimants

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no avail.

C|aimants also requested of defendants more than once, photocopies of all
public records pertaining to the application for licensing of Abie Security and
|nvestigations; B|ack Water Security; Corporate Security Solutions including
but not limited to: entire application package, all Occupational Licenses (within
State of Louisiana), lnsurance lnforrnation and listing of all known clients
(within the State of Louisiana).

During the course of attempting, through defendants to get these matters
corrected, claimants provided a photocopy of their company's l‘Trade Name"
recordation, and showed and explained that the Louisiana Secretary of State
prohibits use of “ABLE SECURlTY" without claimants' expressed written
permission for the period beginning May i, 2001 and continuing for the next
ten (10) years

C|aimants demanded that the board and defendant Rogillio, and demanded
of the bogus “Able”, that the bogus Able cease operation, to no avail, through
correspondence which stated, “We demand that this out-of-state Security
company, calling itself ABLE SECUR|TY, operating, within Louisiana in
violation of Louisiana RS. 37 and Titie 46, to cease operations in Louisiana as

well as restitution. We are allowing tive (5) calendar days from the date of this

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65. C|aimants have complained to the Louisiana State Board of Private Security

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letter before proceeding without further notice."

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69. Able Security and Patro|, LLC's insurance year ran from February4, 2005 until
February 14, 2006.

70. Katrina hit on August 29, 2005, causing a major disruption in business

71. Dun'ng October 2005, claimants spoke with their insurance carrier because
their insurance agent had not surfaced.

72. ABLE requested an immediate reassessment of their premium.

73. The insurance company advised that they would attempt to assist claimants
and call them back. ABLE’s Security Staff reached high ground, secured
fresh gear, and weapons to resume disaster relief efforts

74. On or about eariy March 2006, ABLE received a CEASE and DESlS'l'
ORDER from the defendant board, over the signature of defendant Wayne R.
Rogi|lio, pertaining to their license to operate (company license # 514) via
certified mail dated March ‘l, 2006,

75. C|aimants contacted the board and Mr. Rogillio on or about March 5, 2006 via
telephone and discussed ABLE’s personnel and company insurance status

76. The board, through defendant Ryland, told C|aimants to “...just send me the
Certilicate".

77. On or about May 9, 2006, claimants taxed a copy of their Certificate of

insurance to Ryland acknowledging not the minimum, but excessive

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coverage.
On or about May 15, 2006, claimants received a letter dated May 10. 2006
acknowledging the defendant board’s receipt of the insurance certificate
however insult came in terms of the assessed line for failure to comply with
obligations to maintain insurance coverage

Claimant's ability to provide this document prior to that time was delayed by
complicated insurance issues

On or about May 15, 2006, claimants received a CEASE and DES|ST
ORDER over the signature of Wayne R. Rogil|io pertaining to their classroom
instructor license # 762 via certified mail dated May 11,2006.

C|aimants contacted the Board’s office on orl about May 17,2006, via
telephone and discussed personal and company insurance status with Mr.
Rogiuio.

C|aimants were advised that the CEASE and DES|ST ORDER would be
rescinded, but the fine would be a matter for Board decision.

CLA|MANTS insisted that all documentation bearing the Trade Name" ABLE
SECUR|TY is property of ABLE SECUR|TY. This also served as a reminder
of claimants’ request dated May 29, 2006, pertaining to all original licenses
bearing the "TRADE NAME" ABLE SECUR|TY, all letters memoranda, and
any other correspondences to be sent to our address above.

By this time, the other defendant security companies including the bogus

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“Able”, had already damaged ciaimants’ reputation, taken claimants’ business
libeled and slandered claimants and violated ciaimants' rights under federal
and state law.

CLA|MANTS asked the Board to "Please contact me through the above
address or via cellular telephone numbers (504)628-1677 or (504) 628-5403",
to no avaii.

Further, the Board and, particulariy, defendant Rogillio, harassed claimants
and their clients through unnecessary visits by the Board’s investigator to
claimants’ clients

ACTiONS OF |NDiViDUAL SECUR|TY COMPANY DEFENDANTS

TRADE NAME iNFRiNGENiENT BY “BOGUS ABLE”

Defendants “Bogus Ab|e” and Waiter D. Roberts did operate in the State of
Louisiana in violation Trade Name and fair business statutes of Louisiana by
operating as “Able Security"l purposely profiting off of the trade name of
claimant Ab|e Security and Patrol, intentionally posing as claimant Abie
Security and Patrol, operating without the proper license, operating without
the proper insurance, and further operating in such a way as to damage the
reputation and ability to do business of claimant Abie Security and Patro|.
Defendant Board, Wayne R. Rogiilio and other Board members knew that
“Bogus Abie" was committing the violations of law and regulations as alleged

herein, and failed to do anything to protect Ciaimants’ rights as a property

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insured and licensed security company in Louisiana with the registered trade
name “Able Security and Patroi”.
The name of defendant “Bogus Able” was and is confusing under pertinent
Louisiana Trade Name and business statutes and did cause claimants
damage via these violations
OTHER ViOLATiONS BY DEFENDANT SECURiTY COMPAN|ES
Defendants CSS|, BOGUS ABLE, BSC AND THElR RESPECTIVE OWNERS
caused claimants damage by way of the following non-exclusive acts:
a. operating in Louisiana without the proper license, insurance, and other
necessary qualifications to do business
b. by soliciting claimants’ clients and misrepresenting claimants’ status to
claimants’ clients in order to get claimants’ clients’ business ali to the
injury of claimants financially and injury to their reputation;
c. other acts that will be proven at trial.
RlCO FACTS AND CAUSE OF ACT|ON
The individual defendants and the Enterprises (the BOARD, Wayne R.
Rogillio, and corporate and individual defendants) have engaged in a “pattern
of racketeering activity,” as defined in §1961 of RlCO, by committing and/or
conspian to commit or aiding and abetting transactions with at least two such
acts of racketeering activity, as described herein, within the past ten years

Each act of racketeean activity was related, had similar purposes involved

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92.

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95.

the same or similar participants and methods of commission, and had similar

results impacting similar victims including Plaintiff(s) herein.

These predicate acts are related in the sense that they have the same

purpose (to carry out the scheme described herein); result (to obtain money

and deprive C|aimants of business opportunity); victims (such as Ciaimants

herein); method of commission (the scheme described herein); and are

otherwise interrelated by distinguishing characteristics and are not isolated

events because they were carried out for the same purpose over a period of

at least three to four years

Predicate acts were committed in the same manner, and they constituted the

Enterprises’ “norma|” way of doing business with regard to the fraudulent and j
illegal attempts at closing down Ciaimants’ business Further, defendants

were and are also engaged in other business activities separate and apart

from the scheme detailed herein, and their unlawful actions which constitute

the predicate acts giving rise to this RlCO ciaim-, are within their “normal" and

“reguiar" way of doing business

The related predicates amount to a continued criminal activity because they

extended over a substantial period of time

The Enterprises’ and defendants’ courses of action entails a span of years
during which Defendants committed numerous related predicate acts as part

of their continuing scheme Aiso, the predicate acts are closely intertwined

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as far as actors goals nature functioning and structure of the operations
described herein in the persecution of C|aimant(s).

96. The multiple acts and the continuity and relatedness of racketeering activity
committed andlor conspired to or aided and abetted by Defendants as
described herein, were related to each other, amount to and pose a threat of
continued racketeering activity, and, therefore constitute a “pattern of
racketeean activity” within the meaning of 18 U.S.C. §1961(5).

97. R|CO protects the legitimate “enterprises” of Ciaimant Ab|e and the Board
from defendants’ employees officers managers and agents of who have
committed the unlawful acts described in the “pattern of activity” described
below.

98. R|CO protects the public from defendants who would unlawfully use an
“enterprise” (legitimate or illegitimate) as a vehicle through which to commit the
fraudulent and illegal schemes described herein.

99. The persons of the employees managers officers and other agents of the
enterprises have used the legitimate enterprises to carry out their scheme
upon the C|aimants as well as to victimize the corporate persons of corporate
defendant and the Board.

100. The Association in Fact of the employees managers officers and agents of
the enterprises and the corporate defendants have used their Association in

Fact to carry out their scheme upon the victims Their Association exists

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separate and apart from the racketeering activity. The Case Statement will
show that each member acted as a part of a unit, and that the whole unit was
necessary to carry out the scheme

101. The pattern of racketeering activity herein is made through fraudulent
misrepresentations and claims through the U. S. Mail and telephone These
communications include fraudulent misrepresentations and fraudulent and
illegal claims of lack of insurance and lack of other requirements by Ciaimants
that are required to operate fraudulent claims by corporate defendants
regarding their licenses to operate, their qualifications to operate their
insurance to operate, and their identities The U. S. Mails were used to
send correspondence designed to perpetuate and support the scheme These
communications have been made continuously over more than a two year
period by the employees managers officers and other agents of the
enterprises in their capacity as managers officers and agents of the
enterprises

102. These communications the conduct of the schemes and the enterprises
themselves have ali been continuing over at least a two year period, and
function as a unit in the perpetuation of the scheme and accomplishment of its
goals

103. The enterprises the Board and its members the corporate defendants and

their owners and the employees officers agents of the enterprises

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104. With the Board, Rogi|lio and the Corporate defendants as the enterprises, the
persons existing separate and distinct from them are the employees, officers
and agents thereof.

105. With the Association in F act (corporate defendants, individual defendants and
the Board) as the enterprise the enterprise still exists separate and apart from
the pattern of activity. Each member of the Association has his, her or its
legitimate business outside of the activities of the Association.

106. All claimants and victims have been injured directly and indirectly by the
fraudulent schemes described herein.

107. All defendants and enterprises, at various times, participated in the conspiracy
by performing tasks designed to further the scheme

108. The defendant Board and its members received written complaints and notice
and continued to make said misrepresentations and illegal claims in writing and
through the U. S. Mails, and continued the scheme The wire and mail fraud
(Titfe 18 U.S.C. Sections 1341 and 1343) violations alleged are indictable
offenses:

a. the schemes involved the fraudulent and illegal

b. All defendants, both in their roles as participants and victims, the
Association in Fact and others used the mails, telephone and other
methods of interstate communication in furtherance of the scheme;

c. defendants had specific intent to prevent C|aimants from conducting and

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participating in the security business, and to take Ciaimants business,
by devising, participating in and abetting the scheme

d. defendant Rogi||io, as Executive Secretary of the Board, used his
position and influence to illegally prevent claimants from conducting
business and allowing the other defendant security companies to
illegally conduct business to Board members and Mr. Rogi||io’s financial
benefit.

COUNT l - R|CO

DEFENDANTS ARE GUILTY OF ClVlL VIOLATlONS OF THE
RAC KETEER INFLUENCED AND CORRUPT ORGANIZAT!ONS ACT

The Rico Enterprise

109. C|aimants are “person(s)" within the meaning of 18 U.S.C. §1964( c ).

101. At all times relevant hereto, C|aimants and Defendants were “persons” within
the meaning of 18 U.S.C. §1961(3).

102. An enterprise need not be a specific legal entity but rather may be “any union
or group of individuals associated in fact although not a legal entity.”

103. Defendants did knowingly, unlawfu||y, and intentionally combine confederate
conspire and agree together with each other, and with co-conspirators and
others whose names are both known and unknown, to benefit and use
proceeds from Defendants’ pattern of racketeering activity for the furtherance

of the legitimate aspects of the organization, such as stockholder dividends,

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employee and executive salaries, bonuses and operating expenses, to
purchase and acquire goods and services, direct the proceeds of the
racketeering activity into the general funds of these Defendant organizations,
their employees, their executives, their stockholders their subcontractors and
others. This violation was in concert with corrupt and/or inept employees and
agents, other companies, attomeys, constituting an association in fact for the
purpose of racketeering activity.

106. The enterprise at issue in this case, for purposes of 18 U.S.C. §§1961(3) and
1962(a), 1962(b), 1962© and 1962(d), is an association-in-fact of all
Defendants referred to herein. Additional wrongdoers that may be part of the
association-in-fact enterprise (sometimes referred to herein as “Member" or
“Members”) include the individual Defendants themselves, those employees
and agents of the individual Defendants and other non-defendant entities or
co-conspirators that participated in the fraudulent misrepresentations to the
C|aimants, the public, the ccurts, and various regulatory and enforcement
agencies

107. Whife the defendants participated in the enterprise and were a part of it, the
Defendants also have an existence separate and distinct from the Enterprise.

108. Defendants maintained an interest in and control of the Enterprise and also
conducted or participated in the conduct of the Enterprise’s affairs through a

pattern of racketeean activity.

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109. Defendants’ control and participation in the Enterprise were necessary for the
successful operation of Defendants’ scheme

110. The Enterprise had an ascertainable structure separate and apart from the
pattern of racketeering activity in which the Defendants engaged.

1 1 1 . The Enterprise the Association in Fact and their respective members worked
together to orchestrate the schemes at issue and shared profits therefrom.
The association-in-fact enterprise and the Enterprise were comprised of
fonnal, ongoing relationships which functioned as a continuing unit, pursuing
a course of conduct with a common or shared purpose and continuity of
structure and personnel (including partners, associates and support staff). On
information and belief, the schemes herein are just an example of those in
which the Enterprise the Association in Fact and aff respective members of
each participated as a decision»making, functioning unit.

1 1 2. Defendants and those employed by and/or associated with the Enterprises and
the Association in Fact,1 both of which engaged in interstate commerce have
conducted the affairs of the respective enterprises through a pattern of
racketeering activity in violation of 18 U.S.C. §§1962(a), (b), and © and have
conspired to violate §1962(a) - © in violation of 1962(d) by illegally prohibiting
C|aimants from conducting business, taking Ciaimants’ business and Trade
Name and conducth business based on fraudulent, false representations

1 1 3. All Defendants have violated 1 8 U.S.C. §1962(d), inasmuch as they knowingly,

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114.

115.

intentionally, and unlawfu||y, in aiding and abetting each other, conspired to
conduct and participate directly or indirectly, in the conduct of the affairs of the
Enterprises through the pattern of racketeering activity described herein.
Defendants’ Scheme

For a period of time known and unknown, defendants herein violated
C|aimants' constitutional rights, rights under the Civil Rights Act, rights to
conduct business and enjoy their Trade Name right to operate by illegally
charging claimants with violations of operating procedures and threatening and
causing cease and desist orders to issue by illegally forcing claimants out of
business, or preventing them to operate through the illegal use of their position
with the State of Louisiana, by allowing other security companies to operate
illegally and to take cfaimants’ business, contact cfaimants’ clients, and to
misrepresent claimants’ status with claimanfs’ clients to the financial benetit of
members of the Board, Mr. Rogi|lio and defendant security companies This
scheme was carried out through the mails and in this district

Following are additional, non~excfusive, acts and omissions by defendants and
said acts. omissions and violations alleged against all defendants named
herein, in concert with other defendants as yet unknown or unnamed,
constitute R|CO and other violations of law against petitioners for which they

should pay damages:

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LSBPSE and its personnel

1.

2.

10.
11.

failed to protect Abie Security from outside intrusion of unlicensed company;
failed to act with prudent judgment when warned by LA Secretary of State
against potential problems that cause existing Abte Security closeness of
name;

failed to enforce laws pertaining to LARS 37 and Titie 46, in particular, filing
of false application for company license registration of certifrable security
officers and required training;

illegally maliciously issued cease and decease orders against legitimate
LSBPSE Licenses;

maliciously assessed fines for technical violations that were beyond Ab|e
Security control, i.e. lapse in insurance coverage

failed to timely certify applicants for security oflicer registrations;

failed to timely issue security officer registration cards;

improper|y, and illegally rendered referrals security services and security
training to “Good Ole Boy" network participants, i.e. Louis Gurvich Jr., New
Orieans Private Patrol, and Pau| Graffeo, Professional Security Training
aimed at monopoly and price gouging within the Private Security fndustry;
provided safe working environment to unlicensed out-of-state private security
companies;

altered firearms training verification form causing damage to public records;
failed to provide due process with regards to Able Security dispute of

malicious fines pertaining to lapse of insurance i.e. failure to issue subpoena,

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12.

failure to provide documentary evidence and failure to provide required
witnesses;
All defendants used telephone mail, public office and public employees to

facilitate their schemesl

ABLE SECUR|TY AND lNVESTlGATIONS OF LA, LLC

1.

2.

filed false application for company license;

deceived clients, competitors, and general public by failing to distinguish their
company from Able Security;

constructively converted working relationship!contracts with clients after
Hurricane Katrina;

caused irreparable damage to company reputation by continuing to charge
clients for unperfonned work;

illegally received and negotiated security services proceeds belonging to Able
Security;

knowingly disregarded and violated LARS 37 and Tit|e 46, in particular
security officer registrations, security officer training, and uniforms

All defendants used telephone mai|, banks, private interstate carrier to

facilitate their scheme

CEDR|C W. DAVISI FNE STAR PROTECTION SERV|CES and the BOGUS
“ABLE SECUR|TY” AND lNVESTlGATfONS OF LA.

1.

Cedric W. Davis, acting on behalf of out-of-state Able Security, deceitfully and
deceptiver interfered with the working relationship between Able Security and

a current client causing the constructive conversion(s) of contracts belonging

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to Able Security;

Cedric W. Davis maintained involvement with others known or unknown while
causing irreparable damage to company reputation, and economic base for
reconstruction;

created Five Star Protecticn Services, a private security company owned
solely by Cedric W. Davis;

Davis further alienated Able Security from its clients and revenue by
converting the previously stolen private security contracts to Five Star
Protection Services;

knowingly disregarded and violated LA RS 37 and Title 46 in particular, filing
false application for company license security officer registrations, security
officer training, use of illegal weapons, and unifonns;

All defendants used telephone mail, banks, wire interstate private carrier to

facilitate the scheme

CORPORATE SECURiTY SOLUTiONS

1.

knowingly disregarded and violated LARS 37 and Titie 46 in particular security
officer registrations, security officer training, weapons, and uniforms;
illegally attempt to solicit involvement cfAble Security in an elaborate scheme
by which Corporate Security Solutions inc would pay Able Security 3% of
gross private security proceeds in accordance with any private security
services in which Able Security was claimed as a legitimate minority sub-
contractors, whereas, Able Security is never expected and discouraged from
performing any of the actual private security services;

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3. All defendants made use of telephone mail, banks, interstate carrier to

facilitate violations of LARS 37 and Tit|e 46.

BLACKWATER

116.

117.

1 . knowingly disregarded and violate LARS 37 and Title 46 in particular security
officer registrations, security officer training, illegal use of weapons, and
uniforms;

2. All defendants made use of telephone wire banks, interstate carrier to
facilitate violations of LARS 37 and Tit|e 46.

NON-RlC CA ES OF ACT|ON
M- MC_Y

At all times pertinent, the defendants conspired, confederated, and agreed

among themselves to deprive claimants of their rights to equal protection and

due process under federal law, as alleged, and to deprive them of their rights

under state law and regulations, as alleged herein. As such, the individual

actions of the defendants are imputable to one another as a matter of law,
THE BACK§ROUND

The allegations comprise the background facts, allegations and overt acts

which constitute the following violations of |aw. Defendants’ actions and

omissions constitute violations of Cfaimants’ rights under the 14th Amendment

to the United States Constitution, Title 42, USC section 1983 and 1985.

Federal and State Racketeering Acts, violations of Louisiana Trade and

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118.
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123.

Business Practices statutes. The acts and omissions of defendants have
caused petitioner damages in the form of humiliation, embarrassment invasion
of privacy, loss of reputation, severe mental and emotional distress anxiety,
and domestic tunnoi|.

COUNT ll
C|aimants realleage and reiterate all previous and subsequent allegations
Defendants’ actions violated claimants’ rights under me 14TH AMENDMENT to
the United States Ccnstitution by depriving them of equal protection and due
process as alleged, based on race
Defendants’ actions caused C|aimants great damage in terms of loss of profits
loss of reputation, loss of income loss of property, and mental and emotional
pain and suffering for which defendants should be made to answer in
damages

C NT lV
Ciaimants realleage and reiterate all previous and subsequent allegations
Defendants’ actions violated claimantsi rights under Titie 42. USC sec. 1983
by depriving them of equal protection and due process as alleged based on
race
Defendants’ actions caused C|aimants great damage in terms of loss of profits
loss of reputation, loss of income loss of property, and mental and emotional

pain and suffean for which defendants should be made to answer in

33

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124.

125.

126.

127.

128.

129.

damages

CQQNT V
C|aimants realleage and reiterate aff previous and subsequent allegations
Defendants’ actions violated claimants’ rights under Titie 42, USC sec. 1985
by conspiring to deprive them of equal protection and due process as afleged,
based on race.
Defendants’ actions caused C|aimants great damage in terms of loss of profits
loss of reputation, loss of income loss of property, and mental and emotional
pain and suffean for which defendants should be made to answer in
damages

§_QL!E'LY_|
C|aimants realleage and reiterate all previous and subsequent allegations
Defendants’ actions violated claimants’ rights under the Louisiana
Racketeering Act. (La. R.S. 15:1351 et seq.) by conspiring to and by
depriving them of equal protection and due process as alleged, based on race
and through violations of the predicate acts and omissions as alleged herein.
Defendants’ actions caused C|aimants great damage in terms of loss of profits
loss of reputation, loss of income loss of property, and mental and emotional
pain and suffering for which defendants should be made to answer in

damages

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CQU!~_|T Vll

130. Ciaimants realleage and reiterate all previous and subsequent allegations

131. Defendants’ actions violated claimants’ rights under Louisiana Unfair Trade
Practices and Consumer Protection Act. (l.a. R.S. 51:1401 ef seq.)by
conspiring to and by depriving them of equal protection and due process as
alfeged, based on race and through violations of the predicate acts and
omissions as alleged herein.

1 32. Defendants’ actions caused C|aimants great damage in terms of loss of profits
loss cf reputation, loss of income loss of property, and mental and emotional
pain and suffering for which defendants should be made to answer in
damages

COU NT Vl|

133. C|aimants realleage and reiterate all previous and subsequent allegations

134. Defendants’ actions violated cfaimants’ rights under Articles 2315 and 2324
of the Louisiana Civil Code. by conspiring to and by depriving them of equal
protection and due process as alleged, based on race and through violations
of the acts and omissions as alleged herein.

1 35. Defendants’ actions caused C|aimants great damage in terms of loss of profits
loss of reputation, loss of income loss of property, and mental and emotional
pain and suffering for which defendants should be made to answer in

damages

35

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136. Further, under this Count, defendants intentionally caused claimants great and
severe emotional hann, intended to cause said harm, and did so by the
execution of acts and omissions that have no place in a civilized society.

COUNT |X
NEGL|GENT AND iNTENT|ONAL MISREPRESENTATION

137. C|aimants realleage and reiterate all previous and subsequent allegations

138. Defendants’ actions violated ciaimants’ rights under Articies 2315 and 2324
of the Louisiana Civil Code through negligent and intentional
misrepresentation

139. The defendant State of Louisiana, through the BOARD, Wayne R. Rogiliio,
other Board members owed C|aimants duties of care. loyalty and honesty,
and a duty to comply with the applicable standards of care and the laws of the
State of Louisiana and the United States and any and all regulations
governing the exercise of their duties

140. During the course of their dealings with Ciaimants the State of Louisiana, the
Board, Wayne R. Rogiiiio and other individual members of the Board,
defendants made numerous knowingly and negligently false affirmative
representations and intentional or negligently misleading omissions of fact as
set forth above.

141. The State through the Board and Mr. Rogillio, and other members of the

Board, either knew or reasonably should have known that their

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142.

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145.

146.

representations instructions and opinions were false. ln addition, the
rendering of such representations instructions and opinions as well as the
failure to advise C|aimants of the omissions as set forth hereinl was negligent,
grossly negligent, and reckless

Ciaimants fully performed their obligations as directed by the State defendants
and the law and regulations governing their operation, and thus did not
contribute to the intentiona|, negligent, grossly negligent, and/or reckless acts
in any way.

|n reasonable reliance on the State defendants false affirmative
representations and intentional omissions of material facts C|aimants incurred
expenses costs and damages both personally and tinancia|ly.

But for the State defendants’ failure to meet the app|iwble standard of care
and follow the applicable State and Federal laws and regulations governing
their activities and the intentional and/or negligent misrepresentations and
material omissions described hereinl Ciaimants would not have suffered
damages

After discovering the State defendants misrepresentations C|aimants
incurred and will continue to incur substantial additional costs in the
prosecution of this case, and in the loss of other financial opportunities

As a proximate cause of the foregoing, C|aimants have been injured in an

actual amount to be proven at trial, and should be awarded damages in

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147.

148.

149.

150.

151.

152.

accordance with the evidence, plus attomeys’ fees and costs

Defendants’ actions caused Ciaimants great damage in terms of loss of profits

loss of reputation, loss of income, loss of property, and mental and emotional

pain and suffering for which defendants should be made to answer in

damages

Further, under this Count, defendants intentionally caused claimants great and

severe emotional harm, intended to cause said harm, and did so by the

execution of acts and omissions that have no place in a civilized society.
COU NT X

The aforementioned wrongful acts and omissions and those developed

through discovery, constitute a violation of the Louisiana Unfair Trade

Practices and Consumer Protection Act. (La. R.S. 51 :1401 et seq.)

Louisiana Unfair Trade Practices and Consumer Protection Law, LSA R.S.

51 :1401 prohibits unfair or deceptive methods acts or practices in trade or

commerce.

The defendant have engaged in unfair and deceptive trade practices for the

purpose and with the effect of obtaining tremendous business advantage, and

for the purpose of putting claimants out of business

The defendants were in the business of providing and regulating security

services in the State of Louisiana, Their activity. as alleged, was unrelated to

traditional business practices of the security industry, as contemplated by the

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Louisiana Unfair Trade Practices and Consumer Protection Law.
153. As a result of Defendants’ violation of the Louisiana Unfair Trade Practices and
Consumer Protection Law, claimants are entitled, pursuant to LSA R.S.
51 :1408, to damages
WHEREFORE, Ciaimants Henry Jo||y and Able Security and Patro|, LLC, pray that
this petition be filed and served on all defendants and after due proceedings forjudgment
for all |egal, compensatory. equitabie, punitive, nominal and other damages in amounts that
this Court deems necessary and appropriate
Respectfu|ly S»:n“litted:
l\ 0
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